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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
 HUSSIAN COLLEGE, INC. ET AL.,                   : CIVIL ACTION
                                                 :
                       Plaintiffs,               : No. 2:24-cv-05408
                                                 :
                vs.                              :
                                                 :
 JEREMIAH STAROPOLI ET AL.,                      :
                                                 :
                       Defendants.               :
                                                 :

                                STIPULATION AND ORDER
        Defendant Ronald Kelley (“Kelley”) and Defendants Velocity Capital Group LLC and

Summit Capital Funding, LLC (collectively, “Velocity”), through their respective undersigned

counsel, hereby stipulate that the time for Velocity to answer or otherwise plead to the Crossclaim

asserted by Kelley is extended through and including twenty (20) days after the date of entry of an

Order by the Court on the pending Motion for Leave to File Amended Complaint [ECF No. 33].

        STIPULATED and AGREED this 4th day of December, 2024, by:

/s/ Benjamin J. DiLorenzo                            /s/ William A. Harvey
Bressler Amery & Ross, P.C.                          Klehr Harrison Harvey Branzburg LLP
Benjamin J. DiLorenzo, Esq.                          William A. Harvey, Esq.
Counsel for Ronald Kelley                            Counsel for the Velocity Capital Group LLC
                                                     and Summit Capital Funding, LLC



               SO ORDERED this 9th day of December, 2024 by the Court:

                                                     /s/ Hon. Kelley B. Hodge
                                                     ___________________________
                                                                              , J.




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